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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

JOSE L. TARAZON
Plaintiff,
7:18-CV-000600

V.

LTD FINANCLAL SERVICES, L.P, et al.

OOOOOOOOQOOOOOQOOOOOQCOOCOO

Defendants.

DEFENDANT LTD FINANCIAL SERVICES. LP’S MOTION TO DISMISS
PLAINTIFF’S FIRST AMENDED COMPLAINT &
SUPPORTING MEMORANDUM OF POINTS AND AUTHORITIES

Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendant LTD Financial Services,
L.P. (“LTD”) hereby moves for dismissal for Plaintiff, Jose Tarazon’s failure to state a claim Which
relieve can be granted.

I. SUMMARY

Plaintist Amended Complaint fails to modify, revise or rectify the issues addressed in
LTD’s l\/lotion to Dismiss. Instead, plaintiff made a few inconsequential changes and still relies
upon the substance of his poorly drafted Complaint. Plaintiff still ignores the totality of the
statements in correspondence sent to him to collect on an outstanding balance and instead extracts
a single sentence from a paragraph to allege LTD has mislead plaintiff as to the time barred nature
and legal enforceability of his account in violation of the Fair Debt Collection Practices Act
(“FDCPA”) and the TeXas Debt Collection Act (“TDCA”).

Plaintiff rests its entire claim on the following sentence:

“Because of the age of your debt, We Will not sue you for it”

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Plaintiff alleges the above sentence is misleading because it: (i) does not state the account
was time-barred or prohibited by the applicable statute of limitations; (ii) gives the “false
impression” that LTD has voluntarily chosen not to sue, instead of stating that it cannot sue; and
(iii) “falsely implies” that the current creditor might sue. Whether, the above language, in and of
itself is misleading is irrelevant because there is no doubt, when read in the context of the paragraph
it was ripped out of that LTD adequately informed the least sophisticated consumer of the time

barred nature of the debt. The entire paragraph states:

 

 

 

The law limits how long you can be sued on a debt Because oftiie age of your debt, we will not sue you for it. The right to sue you
to make you pay the debt may start again il` you make a partial payment on the debt, admit to owing the debt or promise to the pay
the debt Acceptance of this settlement often selecting a repayment option and payment by the due date will satisfy this debt with
the current creditor.

 

In the correspondence, LTD expressly disclaimed litigation, informed the least
sophisticated consumer that the debt is time barred and notified the least sophisticated consumer
about the potential effects of a partial payment. All of which is consistent with language crafted
and mandated by federal regulatory settlements and in accordance with 5th Circuit precedent See
ungherty v. Convergent Outsourcing, Inc., 836 F.3d 507, 513 (5th Cir. 2016); United States v.
AssetAcceptance LLC, No. 8:12-CV-182~T-27-EAJ (M.D. Fla. 2012); Portfolio Recovery Assocs,
LLC, 2015 CFPBSTIP 0023, 2015 WL 5667146 (Sept. 9, 2015); and In re Encore Capital Grp.
Inc., et al., 2015 CFPBSTIP 0022, 2015 WL 5667145 (Sept. 9, 2015).

The Amended Complaint not only fails on the merits, but fails to plead all elements of its

causes of action, including failing to plead facts to support that the obligation is a consumer debt

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as defined by the FDCPA and failing to plead actual damages as required by the TDCA. Finally,
the Amended Complaint fails to meet the pleading standards of Rule 8.1

For the reasons set forth herein, LTD respectfully request that this Court dismiss the
plaintiff’s Amended Complaint pursuant to Federal Rules of Civil Procedure Rule 12(b)(6).

II. M

Plaintiff alleges that defendant Advantage Assets II, Inc. purchases charge off consumer
credit accounts, including the outstanding balance alleged in the correspondence sent March 3,
2017 by LTD to plaintiff See EXhibit A to the Amended Complaint, which is attached herein
(“March 2017 Letter”). The plaintiff does not allege that he owes the obligation which is
referenced in the March 2017 Letter (the “Obligation”), instead he just states that the March 2017
Letter asserts that he is obligated to pay the Obligation. See Amended Complaint at ‘ll29. The
March 2017 Letter states in relevant part:

The law limits how long you can be sued on a debt. Because of the age of your debt,

we will not sue you for it. The right to sue you to make you pay the debt may start

again if you make a partial payment on the debt, admit to owing the debt or promise

to the pay the debt. Acceptance of this settlement offer, selecting a repayment

option and payment by the due date will satisfy this debt with the current creditor.

Plaintiff commenced the current class action alleging the above language violated §§ 1692e

and 1692f of the FDCPA for alleging misleading the time barred nature of the account and for

 

l In ‘|l55 and ‘ll57 of the Amended Complaint, plaintiff asserts that the correspondence failed to inform the
least sophisticated consumer that LTD and/or Advantage Assets II, Inc., would issue a 1099-C and generally
failed to inform that there may be tax consequences if settlement was accepted Other than these 2
paragraphs, plaintiff makes no other allegations of claims with regard to purported tax consequences
Therefore, it is unclear if plaintiff is alleging a violation of the FDCPA or the TDCA in regards to the failure
to disclose potential tax consequences in the correspondence To the extent, plaintiff is asserting such a

claim, LTD will address this issue in the Motion to Dismiss.

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failing to disclose the legal enforceability of account. In addition, plaintiff asserts violations of
Texas Finance Code §§392.301(a)(8), 392.304(a)(8) and 392.304(a)(19).

III. STANDARD OF REVIEW

Under Fed. R. Civ. P. 12(b)(6), a Amended Complaint should not be dismissed “unless it
appears certain that [plaintiff] can prove no set of facts that would support his claim and would entitle
him to relief.” Smith v. Sydnor, 184 F.3d 356, 361 (4th Cir. 1999). The Court must accept all of the
Amended Complaint’s well-pleaded allegations as true and view them in the light most favorable to
the plaintiff. Id. at 361. However, that requirement applies only to facts, not to legal conclusions
Ashcrofr v. Iqbal, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009). In addition, “if the well-pled facts do
not permit the court to infer more than the mere possibility of misconduct, the Amended Complaint
has alleged - but it has not ‘show[n]’- that the pleader is entitled to relief.” Id. at 1950. Particularly
where potentially costly discovery is concerned, “factual allegations must be enough to raise a right

of relief above the speculative level, on the assumption that all of the allegations in the Amended
Complaint are true.” BellAtl. Corp. v. Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955, 167 L. Ed.

2d 929 (2007).

Accordingly, the Supreme Court has held that to satisfy the pleading requirements of Fed. R.
Civ. P. 8(a), a Amended Complaint must include a plausible statement of the claim showing that the
pleader is entitled to relief and providing the defendant with fair notice of “what . . . the claim is and
the ground upon which it rests.”Id. at 555 . “Threadbare recitals of the elements of a cause of action,
supported by mere conclusory statements, do not suffice.” Id. at 557. Rather, “only a Amended
Complaint that states a plausible claim for relief survives a motion to dismiss.”lqbal, 129 S. Ct. at
1950 (emphasis added).

IV. ARGUMENT

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Plaintiff’s Amended Complaint must be dismissed because:

(i) Plaintiff failed to plead facts sufficient to support that (a) he is a “consumer” as
defined in the FDCPA, or (b) LTD was attempting to collect a “debt” as defined
by the FDCPA. Both of which are required to maintain a action for violation of

the FDCPA.

(ii) Plaintiff failed to meet the pleading requirements of Rule 8, by failing to plead
which conduct allegedly violated what specific sections of the FDCPA, including
the sub-section of §1692(@), and the TDCA.

(iii) The March 2017 Letter was not false, misleading, or deceptive because it
disclosed the time barred nature of the Obligation and the unenforceability of the

debt.
(iv) Plaintiff has failed to allege actual damages a required element of a TDCA claim.

(v) LTD was not required to inform plaintiff or any least sophisticated consumer

whether taxes would be owed on any forgiveness of debt.

A. Plaintiff has failed to plead facts sufficient to support a violation of the FDCPA.

To prevail on claims against a debt collector under the FDCPA, a plaintiff must show that
“‘(1) he has been the object of collection activity arising from a consumer debt; (2) the defendant
is a debt collector [as] defined by the FDCPA; and (3) the defendant has engaged in an act or
omission prohibited by the FDCPA."‘ Shular ex rel. Situated v. LVNVFunding LLC (S.D. Tex.,
2016) (quoting Hunsinger v. SKO BrennerAmerican, Inc., Civil Action No. 3:13-cv-0988-D, 2014
WL 1462443, at *3 (N.D. Tex. April 15 , 2014) (quoting Browne v. Portfolio Recovery Associates,
Civil Action No. H-11-2869, 2013 WL 871966, at *4 (S.D. Tex. March 7, 2013))). The FDCPA
defines “debt” as any obligation or alleged obligation of a consumer to pay money arising out of a
transaction in which the money, property, insurance, or services which are the subject of the

transaction are primarily for personal, family, or household purposes, whether or not such

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obligation has been reduced to judgment. 15 U.S.C. § 1692a(5). The term “consumer” is defined
as “any natural person obligated or allegedly obligated to pay any debt.” 15 U.S.C. § 1692(a)(3).

Therefore, in order to plead a plausible claim for violation of a FDCPA, plaintiff must
plead facts that he is obligated or allegedly obligated to pay an obligation that arose out of a
transaction primarily for personal, family or household purposes Moreover, statements
unsupported by any facts are mere legal conclusions and do not satisfy the pleading requirements
of Federal Rule of Civil Procedure 8. See Sanon-Lauredant v. LTD Financial Services, L.P. No.
15-cv-6529, 2016 WL 3457010 (D.N.J. June 22, 2016); Powell v. Aldous & Assocs., P.L.L.C.
(D.N.J., 2018); Hennings v. Alltran Fin., LP (E.D. Wis., 2017) and Major v. Kochalski (E.D. Pa.,
2016). See also Vaquero v. Frederick ]. Hanna & Assocs., P.C., No. 13-cv-641, 2013 WL
5947011 (D.N.J.Page 7 Nov. 6, 2013) (finding that the sole allegation that “Defendant sought to
collect from [Plaintiff] a debt allegedly due to [Chase Bank] arising from transactions incurred for
personal, family, or household purposes” did not satisfactorily plead the existence of a debt under
the FDCPA).

ln this instant case, the plaintiff has failed to plead facts sufficient to support the reasonable
inference that the plaintiff is a consumer as defined by the FDCPA or that the Obligation is a debt
as defined by the FDCPA. Instead of providing facts the plaintiff states, “[o]n information and
belief, the alleged Debt arises from one or more transactions primarily for personal, family or
household purposes.” See Amended Complaint at 1l30 (emphasis added). In the Amended
Complaint, plaintiff attempts to bolster his argument by adding additional text to this section. See
Amended Complaint at ‘ll28 and ‘ll29. Unfortunately, the additional text fails to provide any

additional facts to support that plaintiff is a consumer. Instead the additional paragraphs state that

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it “may be an obligation” and that certain facts are “inferred form the information of the Letter.”
Both of these statements are essential a re-wording of “upon information and belief.l’ Id.

The mere fact that someone believes something to be true does not create a plausible
inference that it is true. See, e.g., Twombly, 550 U.S. at 551, 127 S.Ct. 1955 (finding a Amended
Complaint insufficient even though it said, “Plaintiffs allege upon information and belief that
[defendants] have entered into a contract, combination or conspiracy to prevent competitive
entry....”); 16630 Southfield Ltd. P’s}tz'p v. Flagstar Bank, 727 F.3d 502, 506 (6th Cir.2013)
(frnding a series of “upon information and belief’ claims insufficient, because the plaintiffs “have
merely alleged their ‘belief’ ”).

A plaintiff in support of its claim may allege “upon information and belief facts that are
peculiarly within the possession and control of the defendant.”Arista Records, LLC v. Doe 3, 604
F.3d 110, 120 (2d Cir. 2010). Conversely, the plaintiff should not allege upon information and
belief matters that are presumptively within its personal knowledge, unless it rebuts the
presumption. See Sanders v. Grenadier Really, Inc., 367 F. App'x. 173, 177 n.2 (2d Cir. 201 O).

In the instant case the plaintiff has alleged facts solely within its personal knowledge are
“upon information and belief” Clearly, whether the Obligation arose out of a transaction primarily
for personal, family or household purposes is within the plaintiff’s personal knowledge. The fact
that the plaintiff is unable to plead facts that the Obligation arose out of a transaction primarily for
personal, family or household purposes with actual knowledge creates an inference that plaintiff
is not a consumer as defined by the FDCPA.

Because plaintiff has failed to allege facts sufficient to infer that the plaintiff is a consumer
as defined by the FDCPA, the plaintiff’s Amended Complaint must be dismissed for failure to

plead a claim in which relief can be granted.

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B. Plaintiff failed to meet the pleading requirements of Rule 8.

Under Federal Rule of Civil Procedure 8(a)(2), a pleading requires “a short and plain
statement of the claim showing that the pleader is entitled to relief.” The pleading standard under
Rule 8 does not require “detailed factual allegations,” but it demands more than an unadorned
accusation. A pleading that offers “labels and conclusions” or “a formulaic recitation of the
elements of a cause of action will not do.”Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (quoting
Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). Nor does a complaint suffice if it tenders
naked assertion[s] devoid of further factual enhancement Id. 129 S. Ct. at 1949 (quoting Twombly,
550 U.S. at 557).

On a Rule 12(b)(6) motion, a complaint must be dismissed if it does not allege enough facts
to state a claim to relief that is plausible on its face. Twombly, 550 U.S. at 570. A claim has facial
plausibility when plaintiff pleads factual content that allows the court to draw the reasonable
inference that defendant is liable for the misconduct alleged. Id. at 556. Where a complaint pleads
facts that are “merely consistent with” a defendant’s liability, it “stops short of the line between
possibility and plausibility of ‘entitlement to relief.”’ Id. at 557.

Plaintiff’s Amended Complaint still does not meet Rule 8(a)(2) pleading standards The
Amended Complaint includes (i) various background allegations; (ii) excerpts from the March
2017 Letter, (iii) legal or factual conclusions regarding the excerpts, (iv) legal argument and
citation; and then (v) provides a formulaic recitation of the elements of the cause of action. The
Amended Complaint does not link any facts to the alleged violations of the FDCPA. Nor, does is
it provide how any of the alleged facts violated the FDCPA, including §§1692e and 1692f
Moreover, the Amended Complaint fails to allege which subsets of §1692e were allegedly

violated.

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Plaintiff’s failure is comply with Rule 8 is highlighted by ll55 and 1l57 of the Amended
Complaintz, which include random allegations regarding the failure to inform the least
sophisticated consumer there may be tax consequences At no point in the Amended Complaint
are these paragraphs tied to any other allegations or claims. Specifically, the definition of the class,
does not include any reference to the allegations set forth in ‘ll55 and il57. See Amended Complaint
at Section V. Under both Count One and Count Two in the Amended Complaint, plaintiff merely
states that factual allegations are incorporated and then provides a formulaic recitation of the
elements of the cause of action. Leaving defendant, after ciphering through the conclusory
statements and legal citations, to ponder and assume how and which of the alleged facts purport to
support either Count One or Count Two.

Because the Amended Complaint fails to meet the pleading standards of Rule 8, it must be
dismissed.

C. The March 2017 Letter did not violate the FDCPA.

The FDCPA was enacted:

to eliminate abusive debt collection practices by debt collectors, to
insure that those debt collectors who refrain from using abusive debt
collection practices are not competitively disadvantaged, and to

promote consistent State action to protect consumers against debt
collection abuses

15 U.S.C. §1692(k). The FDCPA bars debt collectors from using “any false, deceptive, or

misleading representation or means in connection with the collection of any debt.” 15 U.S.C

 

2 The Amended Complaint includes new conclusory statement on the 1099 issue, but fails to include any
factual allegations Moreover, the additional statements are false, without any basis in law or fact and
inflammatory LTD intends to seek sanctions against plaintiff and his counsel once it has proved that the
allegation are false and that plaintiff and his counsel knew they were false when the allegations were

included in the Amended Complaint.

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§1692e. Section 1692e furnishes a nonexclusive list of prohibitive practices, which includes
falsely representing the character, amount, or legal status of any debt, § 1692e(2)(A), and
threatening to take any action that cannot legally be taken, §1692e(5).3 §1692f of the FDCPA also
prohibits debt collectors from “us[ing] unfair or unconscionable means to collect or attempt to
collect any debt.”

When evaluating whether a collection letter violates §1692e or §1692f, a court must view
the letter from the perspective of an “unsophisticated or least sophisticated consumer.” McMurray
v. ProCollect, Inc., 687 F.3d 665 , 669 (5th Cir. 2012) (quoting Goswami v. Am. Collections Emer.,
377 F.3d 488, 495 (5th Cir. 2004)). The court must “assume that the plaintiff-debtor is neither
shrewd nor experienced in dealing with creditors.” Goswami, 377 F.3d at 495. At the same time,
however, the unsophisticated consumer is not one “tied to the ‘very last rung on the [intelligence
or] sophistication ladder.”’ Id. (alteration in original) (quoting Taylor v. Perrin, Landry, deLaunay
& Durand, 103 F.3d 1232, 1236 (5th Cir. 1997)). The standard “also prevents liability for bizarre
or idiosyncratic interpretations of collection notices by preserving a quotient of reasonableness '
and presuming a basic level of understanding and willingness to read with care.” Kistner Law

O]jcices ofMichaelP. Margelefsky, LLC, 518 F.3d 433, 438 (6th Cir. 2008).

In Texas, statute of limitations is not a bar to collect on debt, but it is an affirmative
defense that must be asserted by the defendant in a court action. The FDCPA does not

specifically require a debt collection to disclose the time barred nature of a debt. Nor is it a

 

3 Since plaintiff did not plead to any specific violation under §1692(@), LTD is left to assume which subset
of §1692(d) were allegedly violated. The failure to clearly identify what actions allegedly violated what
specific sub-section of §1692(e) reinforces the failure of plaintiff to properly plead a claim for which relief

can be granted

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violation of the FDCPA to collect on time-barred debt. This is in part because while a statute
of limitations prohibits bringing an action to collect a debt; it does not extinguish the debt. Fievel
v. Zuber, 3 S.W. 273, 274 (Tex. 1887); Miller, Hiersche, Martens &Hayward, P.C. v. Bent Tree
Nat ’lBank, 894 S.W.2d 828, 829-30 (Tex. App.- Dallas 1995, no writ); Johnson v. Capital One
Bank, 2000 U.S. Dist. LEXIS 13311 (W.D. Tex. 2000)(unpublished)(“a statute of limitations

bar applies only to judicial remedies; it does not eliminate the debt.”).

The 5th Circuit has held that a collection letter seeking payment on a time-barred debt
but offering a “settlement” and inviting partial payment only constitutes a violation of the
FDCPA, if the letter does not disclose the debt’s unenforceability or the possible pitfalls of
making the partial payment. Daugherty v. Convergent Outsourcing, Inc., 836 F.3d at 513
(“Accordingly, we agree that a collection letter seeking payment on a time-barred debt (without
disclosing its unenforceability) but offering a “settlement” and inviting partial payment (without
disclosing the possible pitfalls) could constitute a violation of the FDCPA”).

l . The March 201 7 Letter discloses the time barred nature Of Obligation.

The language in the March 2017 Letter discloses the time barred nature of the Obligation:
The law limits how long you can be sued on a debt. Because of the age of your debt,

we will not sue vou for it. The right to sue you to make you pay the debt may start

again if you make a partial payment on the debt, admit to owing the debt or promise

to the pay the debt. Acceptance of this Settlement offer, Selecting a repayment
option and payment by the due date will satisfy this debt with the current creditor.

 

See Exhibit A (emphasis added). The first two sentences use the language crafted by the
Federal Trade Commission (“FTC”) and the Consumer Financial Protection Bureau (“CFPB”) for
use in collection letters seeking collection of time-barred debt. See United States v. Asset

Acceptance LLC, No. 8:12-CV-182-T-27-EAJ (M.D. Fla. 2012); Portfolio Recovery Assocs, LLC,

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2015 CFPBSTIP 0023, 2015 WL 5667146 (Sept. 9, 2015);1n re Encore Capital Grp. Inc., et al.,
2015 CFPBSTIP 0022, 2015 WL 5667145 (Sept. 9, 2015).

The March 2017 Letter clearly discloses that the Obligation is time barred Therefore, the
March 2017 Letter did not misrepresent the legal status of the debt and the Motion to Dismiss
should be granted

2. The March 201 7 Letter discloses that plaintiff will not be saed.

Plaintiff seems to make a distinction between LTD stating that it will not sue versus stating
that it cannot sue. Similarly, relying upon the conclusory statement that “we” as used in the second
sentence of the disclosure, refers only to LTD and not AAII, plaintiff alleges that the March 2017
Letter “falsely implies” that the plaintiff might be Sued by AAII. See Amended Complaint at 1l37
and tl46. Despite the allegations the FDCPA does not require that LTD disclose that a consumer
“cannot” be sued lnstead, the 5th Circuit only requires that a collection letter on a time barred debt
disclose that the debt is unenforceable Daagherty v. Convergent Outsourcing, Inc., 836 F.3d at
513. LTD clearly disclosed the debt was unenforceable by Stating “The law limits how long you
can be sued on a debt. Because of the age of your debt, we will not sue you for it.” Moreover,
only a bizarre or idiosyncratic interpretation of this sentence would allow for the conclusion that
LTD or AAII are threatening to sue. Finally, plaintiff fails to demonstrate how specifically and
clearly disclaiming litigation by advising “we will not Sue you” could deceive plaintiff into
believing that he would be Sued Clearly, LTD is not threatening to take action that cannot legally
be taken - LTD clearly states it will not sue.

But even if the language: “The law limits how long you can be sued on a debt. Because of
the age of your debt, we will not sue you for it.” does not disclose the unenforceability of the debt,

which it does, the next sentence provides additional disclosure: “The right to sue you to make

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you pay the debt may start again if you make a partial payment on the debt, admit to owing the
debt or promise to the pay the debt.” See Exhibit A (emphasis added). When read together, it is
clear that unenforceability of the debt was disclosed

Because the March 2017 Letter discloses the unenforceability of the debt in accordance
with the FDCPA and 5th Circuit precedence, the Amended Complaint should be dismissed

D. Plaintiff has failed to plead facts sufficient to support a TDCA claim.

Plaintiff failed to allege actual damages as required for a TDCA claim. The TDCA
prohibits debt collectors from using threats, coercion, or other wrongful practices in the collection
of consumer debts See Brown v. Oaklawn Bank, 718 S.W.2d 678, 680 (Tex. 1986). In order to
state a claim under the TDCA, plaintiffs must show: (1) the debt at issue is a consumer debt; (2)
defendants are debt collectors within the meaning of the TDCA; (3) defendants committed a
wrongful act in violation of the TDCA; (4) the wrongful act was committed against plaintiffs; and
(5) plaintiffs were injured as result of defendants’ wrongful act. See TEX. FIN. CODE §§ 392.001
et. seq. (emphasis added).

To prove an action for violation of the TDCA, a plaintiff must prove that he Suffered an
actual, foreseeable injury due to the defendant’S conduct. See TEX. FIN. CGDE §392.403(a)(2);
Brown, 718 S.W.2d at 680. The Texas Supreme Court has not defined the scope of § 392.403(a),
but “the rule suggested by [Texas] cases and supported by a plain reading of the statutory text is
that persons who have sustained actual damages from a TDCA violation have standing to sue.”
McCaig v. Wells Fargo Barik (Tex.), N.A., 788 F.3d 463, 473 (5th Cir. 2015) (citing §382.403(a)).
Actual damages are those damages recoverable under common law, such as direct or consequential

damages Alanis v. US Bank Nat’l Ass’ri, 489 S.W.3d 485, 512 (Tex. App_HouSton [1st Dist.]

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2015, pet. denied) (citing Arthur Aria'erseri & CO. v. Perry Equip. Corp., 945 S.W.2d 812, 816
(Tex. 1997)).

There is no allegation of actual damages plead in regards to the TDCA claim, not even a
threadbare recitals of the element is included Because plaintiff failed to allege damages in relation
to its TDCA claim, plaintiff’s TDCA claim must be dismissed

ln addition, for the reasons set forth in Section C above, plaintiff’s TDCA claim must be
dismissed for failing to state a claim for which relief can be granted4

E. Plaintiff is not required to disclose tax consequences in the March 2017 Letter.

Plaintiff includes 3 random paragraphs regarding the alleged failure to inform the least
sophisticated consumer that a 1099-C will be issued or that there may be tax consequences if the
settlement option is accepted Amended Complaint at 155 and 1157. Courts confronted with this
argument have uniformly held that debt collectors have no obligation under the FDCPA to disclose
tax consequences for debt forgiveness The Second Circuit has held that it is not a violation of
the FDCPA to omit possible tax consequences when collecting on a debt. Altman v. ].C.
Christensen & Assocs., Inc., 786 F.3d 191 (2nd Cir., 2015). Because there is no obligation to
inform the least sophisticated consumer about the potential tax consequences when collecting a
debt, this claim, if it exists, must be dismissed Further plaintiffs false statements5 regarding
LTD’s position in another case is irrelevant as to whether the failure to include tax disclosure

language is an FDCPA violation. Amended Complaint at 1l55. These statements are not facts

 

4 The conduct prohibited under the TDCA is coextensive with that prohibited under the FDCPA, at least
insofar as "[t]he same actions that are unlawful under the FDCPA are also unlawful under the TDCA."
Gomez v Niemamt & Heyer, L.L.P. (W.D. Tex., 2016) (citing Ballock v. Abbott & Ross Crea'it Services,
L.L.C., No. A-09-CV-413, 2009 WL 4598330, at *2 n.3 (W.D. Tex. Dec. 3, 2009)).

5 See FN 2.
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within the plaintiff’s knowledge, are not relevant to the current allegations and are high false and

inflammatory
F. CONCLUSION

Although the statute of limitation may prevent suing on a debt, the debt still exists and the
debtor is under a moral obligation to discharge the debt. There is no prohibition under the FDCPA
against offering to settle debts that are barred by limitations as long as disclosure of the
enforceability of the debt is disclosed and there are no threats to take action that cannot legally
be taken. The March 2017 Letter did not violate the FDCPA or the TDCA, it disclosed the
unenforceability of the Gbligation. This suit is not about protecting the consumer, but about the
plaintiffs bar fabricating claims to create more attorney fees and easy settlements In which
case, the plaintiffs counsel Should be required to plead all elements of its claims in accordance
with the Federal Rules of Civil Procedure.

Because plaintiff Amended Complaint fails to procedural provide a claim which relief can
be granted and substantively fails to plead a claim in which relief can be granted, the Amended
Complaint must be dismissed

Respectfully submitted,

LTD FINANCIAL SERVICES, L.P.
DATED: July 6, 2018 [s[ Sondra Jurica

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Sondra.iurica@ltdfin.com
Gerieral Counsel for Defendant

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CERTIFICATE OF SERVICE

l hereby certify that on July 6, 2018, a true and accurate copy of the foregoing was filed
with the Clerk of Court using the ECF system which will send notification of such filing to the

attorneys of record

[s[ Sondra Jurica
Sondra Jurica, 24032486

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